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 1   Michael John Avenatti (Pro Se)
 2
     H. Dean Steward, SBN 85317
 3   17 Corporate Plaza, Suite 254
     Newport Beach, California 92660
 4   Tel (949) 481-4900                                     DENIED
     Fax (949) 497-6753                          BY ORDER OF THE COURT
 5

 6   Advisory Counsel for Defendant
     MICHAEL JOHN AVENATTI
 7

 8

 9                            UNITED STATES DISTRICT COURT
10                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
12
                 Plaintiff,                        [PROPOSED] ORDER
13
                        v.
14
     MICHAEL JOHN AVENATTI,
15
                 Defendant.
16

17
           Good cause having been shown, it is Ordered that Defendant Michael John
18
     Avenatti’s ex parte application is granted. This Court Orders that Mr. Avenatti be housed
19
     at the Santa Ana City Jail in Santa Ana, California.
20

21
           So ordered.
22                                                      DENIED
23                                           BY ORDER OF THE COURT
                      8 2022
     Dated: February ___,                         _______________________________
24
                                                  Hon. James V. Selna
25
                                                  U.S. District Judge
26

27
     Denied. Defendant was not remanded pursuant to an order of this Court. JVS
28
     Case 8:19-cr-00061-JVS Document 914 Filed 02/08/22 Page 2 of 2 Page ID #:22521




 1
                                   CERTIFICATE OF SERVICE

 2         I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
     age. My business address is 17 Corporate Plaza, Suite 254, Newport Beach, California
 4

 5   92660. I am not a party to the above-entitled action. I have caused, on January 18, 2022,

 6   service of the defendant’s:
 7
                                       [PROPOSED] ORDER
 8

 9   on the following party, using the Court’s ECF system:

10   AUSA RANEE KATZENSTEIN and AUSA BRETT SAGEL
11
     I declare under penalty of perjury that the foregoing is true and correct.
12

13   Executed on February 7, 2022

14
                                             /s/ H. Dean Steward
15
                                             H. Dean Steward
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